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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


THE REPUBLIC OF IRAQ, including as                  08-CV-05951 (SHS)
PARENS PATRIAE on behalf of the
CITIZENS of the REPUBLIC OF IRAQ,
                                                       ECF CASE
                        Plaintiff,
                                                ELECTRONICALLY FILED
          - against -

ABB AG et al.,

                        Defendants.




          MEMORANDUM OF LAW IN OPPOSITION TO PLAINTIFF’S
         MOTION TO COMPEL ARBITRATION AND IN SUPPORT OF THE
            MOTION OF BNP PARIBAS TO ENJOIN ARBITRATION
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       BNP Paribas (the “Bank”) respectfully submits this memorandum of law in opposition to

the motion of the Republic of Iraq to compel arbitration and in support of its cross-motion to

enjoin arbitration. As discussed below, Iraq is not a signatory to any agreement with the Bank

and the Bank has not agreed to arbitrate any claims with Iraq. The Court therefore should deny

Iraq’s motion to compel arbitration and grant the Bank’s cross-motion to enjoin arbitration.1

                                PRELIMINARY STATEMENT

       After nearly two years of litigating this action against the Bank in this Court, Iraq has

moved to compel arbitration of two of the nine claims it has asserted against the Bank. Iraq’s

motion is based solely on an arbitration provision included in the “Agreement for Banking

Services Pursuant to Security Council Resolution 986 (1995)” (the “Banking Services

Agreement” or the “Agreement”) between the United Nations (“U.N.”) and the Bank. Iraq’s

motion should be denied because (i) Iraq is not a party to the Banking Services Agreement, (ii)

the arbitration provision of the Agreement, by its terms, applies only to the U.N. and the Bank,

and (iii) Iraq was a designated state sponsor of terrorism subject to U.N. sanctions at the time the

Bank entered into the Agreement and was not intended to have any rights thereunder. As the

Supreme Court reaffirmed just last month, “arbitration is a matter of consent, not coercion.”

Stolt-Nielsen S.A. v. Animalfeeds Int’l Corp., No. 08-1198, --- S. Ct. ---, 2010 WL 1655826, at


1
    As set forth in the Corporate Disclosure Statement of BNP Paribas, filed December 1, 2009,
    four branches of BNP Paribas were separately named in this action as BNP Paribas USA,
    BNP Paribas Paris, BNP Paribas London Branch and BNP Paribas Hong Kong. Dkt. No.
    281. Two BNP Paribas subsidiaries – BNP Paribas (Suisse) SA and BNP Paribas UK
    Holdings Limited – also are named as defendants in this action. Dkt. Nos. 279, 280.
    Plaintiff’s Motion to Compel Arbitration does not address any of these six named defendants
    and instead seeks relief with respect to Banque Nationale de Paris S.A., an entity that merged
    with Banque Paribas in 2000 to form the Bank. Because the Bank is the party to the Banking
    Services Agreement described herein, this brief is filed on its behalf. The arguments set forth
    below, however, apply with equal force to BNP Paribas (Suisse) SA and BNP Paribas UK
    Holdings Limited.

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*11 (Apr. 27, 2010) (quotation omitted). Because the Bank has not agreed to arbitrate anything

with Iraq, it cannot be compelled to do so.

        Iraq itself has tacitly acknowledged this as for two years it has pursued litigation of its

claims against the Bank in this Court. Although it relied on and quoted extensively from the

Banking Services Agreement in its pleadings, Iraq did not assert a right to arbitrate until after the

Bank had expended substantial time and expense to file consolidated and supplemental briefs in

support of a motion to dismiss that identified the numerous fatal deficiencies in Iraq’s lawsuit.

Iraq’s two-year effort to litigate its claims against the Bank not only underscores the lack of

merit of Iraq’s newly-minted effort to avoid dismissal of its claims by seeking to arbitrate them,

but also provides a separate and independent basis for denying Iraq’s motion to compel

arbitration.

        For these reasons, Iraq’s motion to compel arbitration should be denied and the Bank’s

cross-motion to enjoin arbitration should be granted.

                                        BACKGROUND

        As a result of Iraq’s invasion of Kuwait in August 1990, the U.N. Security Council

adopted a sanctions regime that severely restricted transactions between U.N. member states and

Iraq, thereby denying Iraq access to hard currency with which to pursue state-sponsored acts of

terrorism. See Dkt. No. 357 at Ex. 1 (Resolution 661). On April 14, 1995, the Security Council

passed Resolution 986, which established the Oil-for-Food Program (the “Program”) as a limited

exception to the sanctions regime. See id. at Ex. 2 (Resolution 986). In essence, Resolution 986

permitted Iraq to enter into contracts for the sale of Iraqi oil, and for the purchase of

humanitarian supplies and certain other goods and services to be paid for from the proceeds of its

oil sales, without allowing Iraq access to those proceeds. Id. Resolution 986 also required that a



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percentage of the proceeds of Iraqi oil sales be used to fund a wide range of U.N.-directed

activities established under earlier U.N. Resolutions in response to Iraq’s invasion of Kuwait,

including a compensation system for persons who suffered injury or loss as a result of Iraq’s

conduct and a weapons inspection program. Id. All Program transactions were subject to the

unanimous approval of a committee of the Security Council on which the United States and all

other members of the Council were represented. Id.

       In order to facilitate the U.N.’s implementation of Resolution 986, in September 1996,

the U.N. entered into the Banking Services Agreement with Banque Nationale de Paris S.A.,

which subsequently merged with Banque Paribas to form the Bank. Dkt. No. 361 at Ex. 1.

Under the terms of the Agreement, the Bank provided non-discretionary banking services to the

U.N. as its sole customer thereunder. Id. These services included the establishment of an

account for the U.N. (the “Program Account”), into which the proceeds of the sale of Iraqi oil

were deposited and held, subject to disbursement solely upon direction of the U.N. See, e.g., id.

at Arts. 1.3.1, 1.3.2, 1.4. The Agreement also required the Bank, at the direction of the U.N., to

issue letters of credit in favor of the suppliers that, with U.N. approval, had contracted with Iraq

to provide it with goods. Id. at Part 2. The letters of credit provided suppliers with the assurance

that they would receive the U.N.-approved contract price for their goods from funds held in the

Program Account, based upon direction to the Bank from the U.N., upon confirmation by the

U.N. of the arrival of the goods in Iraq and presentation of specified documentation to the Bank.

Id. The only parties to the Banking Services Agreement are the Bank and its customer, the U.N.:

“The United Nations and the Bank are hereinafter collectively referred to as the ‘Parties’ and

individually as a ‘Party.’” Id. at 1.




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       Iraq’s motion to compel arbitration is based solely on an arbitration provision included in

the Banking Services Agreement, which provides:

       1.23.1 Amicable settlement. The Parties shall use their best efforts to settle
       amicably any dispute, controversy or claim arising out of or relating to this
       Agreement or the breach, termination or invalidity thereof. Where the Parties wish
       to seek such an amicable settlement through conciliation, the conciliation shall take
       place in accordance with the UNCITRAL Conciliation Rules then obtaining, or
       according to such other procedure as may be agreed between the Parties.

       1.23.2 Arbitration. Any dispute, controversy or claim arising out of or relating to
       this Agreement or the breach, termination or invalidity thereof, unless settled
       amicably under Article 1.23.1 within sixty (60) days after receipt by one Party of the
       other Party’s request for such amicable settlement, shall be referred by either Party
       to arbitration in accordance with the UNCITRAL Arbitration Rules then obtaining
       and the directions contained in this Article 1.23.2. The arbitrators selected shall have
       a working knowledge of banking practices of major international commercial banks,
       including the Services. The arbitration shall take place in New York City, New York.
       In connection with the interpretation and application of this Agreement, the
       arbitrators shall apply (subject to Article 2.1.3) the substantive law of the State of
       New York relating to banking services practices in the nature of the Services, except
       to the extent that such law is inconsistent with the privileges and immunities of the
       United Nations or SCR 986. The arbitral tribunal shall have no authority to award
       punitive damages. The arbitral tribunal shall have authority to award such interest as
       it considers appropriate in accordance with the UNCITRAL Arbitration Rules. The
       Parties shall be bound by the arbitration award rendered in accordance with such
       arbitration as the final adjudication of any such dispute, controversy or claim.

Id. (emphasis added). As shown through the emphasis above, this provision applies only to “the

Parties” to the Agreement – the U.N. and the Bank. There is no indication that the provision was

intended to confer rights on any third party, particularly Iraq, which was a pariah in the

international community at the time the Banking Services Agreement was executed.




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                                            ARGUMENT

I.      THE BANKING SERVICES AGREEMENT PROVIDES NO BASIS FOR
        COMPELLING THE BANK TO SUBMIT TO ARBITRATION WITH IRAQ.

        A.      The Plain Language Of The Arbitration Provision Demonstrates That Only
                Disputes Between The U.N. And The Bank May Be Referred To Arbitration.

        It is axiomatic that arbitration “is a matter of consent, not coercion.” Stolt-Nielsen, 2010

WL 1655826, at *11. “[A]rbitration is simply a matter of contract between the parties; it is a

way to resolve those disputes – but only those disputes – that the parties have agreed to submit to

arbitration.” First Options of Chicago, Inc. v. Kaplan, 514 U.S. 938, 943 (1995). Therefore, “a

party cannot be required to submit to arbitration any dispute which it has not agreed so to

submit.” Ross v. Am. Express Co., 547 F.3d 137, 143 (2d Cir. 2008) (quotations omitted). Nor

can it be required to submit to arbitration with “any parties[] that are not already covered” by an

arbitration agreement. Stolt-Nielsen, 2010 WL 1655826, at *12 (quotation omitted).2

        Moreover, “[j]ust as the arbitrability of the merits of a dispute depends upon whether the

parties agreed to arbitrate that dispute, so the question ‘who has the primary power to decide

arbitrability’ turns upon what the parties agreed about that matter.” First Options, 514 U.S. at

943. If the parties to the dispute did not “clear[ly] and unmistakab[ly]” agree to submit the

question of arbitrability to the arbitration tribunal, “the court should decide that question just as it

would decide any other question that the parties did not submit to arbitration, namely,

independently.” Id. at 943-44 (emphasis added). The issue of whether a contract manifests a


2
     Because the U.N. is not a U.S. citizen, the New York Convention on the Recognition and
     Enforcement of Foreign Arbitral Awards (the “New York Convention”), implemented by
     Chapter 2 of the Federal Arbitration Act (“FAA”), applies. See 9 U.S.C. § 202. The New
     York Convention requires proof of “an agreement in writing under which the parties
     undertake to submit to arbitration all or any differences which have arisen or which may arise
     between them in respect of a defined legal relationship” before arbitration may be compelled.
     New York Convention Art. II(1).

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consent to arbitrate any issue, including the question of arbitrability, is governed by ordinary

state law contract principles.   See id. at 944; accord Stolt-Nielsen, 2010 WL 1655826, at *11;

Sarhank Group v. Oracle Corp., 404 F.3d 657, 661 (2d Cir. 2005).

       Application of these principles to the Banking Services Agreement compels the

conclusion that the Bank did not consent to arbitrate any issue or dispute with any person other

than the U.N. By its express terms, the arbitration provision of the Agreement applies only to

“the Parties,” defined in the opening paragraph of the Agreement as being limited to “[t]he

United Nations and the Bank.” Dkt. No. 361 at Ex. 1 (emphasis added). Only those “Parties”

are required to use their best efforts to settle disputes arising out of the Agreement or the breach

thereof, and only a “Party” is permitted to submit any such dispute to arbitration if it is not

settled amicably. Id. at Arts. 1.23.1, 1.23.2. Thus, the arbitration provision is unquestionably a

strictly bilateral arbitration agreement between the Bank and the U.N. and cannot be construed

as giving a non-party, such as Iraq, a right to arbitrate. See McPheeters v. McGinn, Smith & Co.,

953 F.2d 771, 773 (2d Cir. 1992) (arbitration clause that applied to controversy “between myself

and yourself” evinced an intent to limit arbitration to the two enumerated parties); Di Martino v.

Dooley, No. 08 Civ 4606 (DC), 2009 U.S. Dist. LEXIS 1674, at *17 (S.D.N.Y. Jan. 6, 2009)

(noting that the phrase “either party” in an arbitration clause limits application of the arbitration

clause to two enumerated parties) (citation omitted).

       In short, the plain language of the arbitration provision of the Banking Services

Agreement leads to only one conclusion: the Bank did not agree to arbitrate any dispute arising

out of or relating to the Agreement with any third party, including Iraq. Iraq’s motion to compel

arbitration should therefore be denied.




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       B.      Iraq’s Efforts To Avoid The Limitations In The Arbitration Provision Of
               The Banking Services Agreement Fail As A Matter Of Law.

               1.      Iraq Cannot Avoid The Limitations In The Arbitration Provision By
                       Characterizing Its Motion As Raising A Question Of Arbitrability.

       Iraq’s principal argument in support of its motion to compel arbitration is not that its

breach of contract and breach of fiduciary duty claims trigger the arbitration provision of the

Banking Services Agreement, but rather that an arbitrator, and not the Court, should decide the

applicability of the arbitration provision to Iraq’s claims. Dkt. No. 397 (“Pl.’s Br.”) at 6-11.

This argument is baseless. As a general rule, the “question of arbitrability . . . is undeniably an

issue for judicial determination.” AT&T Techs., Inc. v. Commc’ns Workers of Am., 475 U.S. 643,

649 (1986); see also John Hancock Life Ins. Co. v. Wilson, 254 F.3d 48, 53 (2d Cir. 2001). The

issue of arbitrability may be submitted to an arbitrator only if “there is ‘clear and unmistakable’

evidence that” the parties “agreed to arbitrate arbitrability.” First Options, 514 U.S. at 944

(quoting AT&T Techs., Inc., 475 U.S. at 649). Where there is no “agree[ment] to arbitrate

arbitrability,” the court must decide whether the claims at issue must be arbitrated. Id.

       As discussed in Section I.A, supra, the Banking Services Agreement does not manifest

any agreement to arbitrate between the Bank and Iraq whatsoever, much less a “clear and

unmistakable” agreement to submit the question of arbitrability to an arbitration tribunal. Iraq

contends that the Court should ignore this fact, and send the question of Iraq’s arbitration rights

to an arbitration tribunal, based upon the purported breadth of the arbitration provision and its

reference to UNCITRAL rules. Pl.’s Br. at 7-10. Iraq’s position is untenable.

                       (a)     The Arbitration Provision Does Not Encompass Questions Of
                               Arbitrability.

       As an initial matter, the Second Circuit repeatedly has held that a broad arbitration

provision alone is insufficient to demonstrate a clear intent to arbitrate the issue of arbitrability,


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even between the parties. Caribbean Steamship Co. v. Sonmez Denizcilik Ve Ticaret A.S., 598

F.2d 1264, 1266 (2d Cir. 1979) (“broad” arbitration provision covering “any dispute” between

the parties “does not expressly vest the arbitrator with the power to determine arbitrability”);

Rosenthal v. Emanuel, Deetjen & Co., 516 F.2d 325, 326 (2d Cir. 1975) (court must determine

arbitrability under broad arbitration provision applying to “any controversy or claim arising out

of or relating to this contract or the breach thereof”); Necchi S.P.A. v. Necchi Sewing Machine

Sales Corp., 348 F.2d 693, 695-96 (2d Cir. 1965) (“broad” arbitration provision covering “[a]ll

matters, disputes or disagreements arising out of or in connection with this Agreement” did not

“clearly vest[] the arbitrators with the power to resolve questions of arbitrability”).3 Likewise,

this Court has rejected the argument that incorporation of UNCITRAL rules in an arbitration

agreement constitutes clear and unmistakable intent to arbitrate the question of arbitrability. See

Telenor Mobile Commc’ns v. Storm LLC, 524 F. Supp. 2d 332, 350-51 (S.D.N.Y. 2007), aff’d,

584 F.3d 396, 406 (2d Cir. 2009).4



3
    Although Iraq cited two cases in which the Second Circuit reached a different conclusion
    (Pl.’s Br. at 8-9), both relied upon additional grounds for referring arbitrability questions to
    the arbitrator. See Shaw Group Inc. v. Triplefine Int’l Corp., 322 F.3d 115, 122 (2d Cir. 2003)
    (finding that incorporation of ICC rules required reference of arbitrability issues to arbitrator);
    PaineWebber Inc. v. Bybyk, 81 F.3d 1193, 1199, 1202 (2d Cir. 1996) (same, as to NASD
    rules, and relying upon the fact that the arbitration clause at issue included disputes over the
    “construction” of the arbitration agreement). In any event, Shaw and PaineWebber do not
    undermine the authority of the earlier Second Circuit decisions and, at best, demonstrate a
    conflict within the Circuit on this issue.
4
    Iraq’s argument that Telenor should not apply here because that case arose in the context of
    “enforcement of an arbitration award” is baseless. Pl.’s Br. at 10 n.3. Telenor rested on
    interpretation of the plain terms of Article 21 of the UNCITRAL Rules, not on the fact that
    the case arose in the enforcement context. See 524 F. Supp. 2d at 350. Similarly, Iraq’s
    claim that Telenor is irrelevant because “BNP’s objection falls squarely within the confines
    of UNCITRAL Rule 21,” pertaining to arbitral rulings on objections, misses the point. Pl.’s
    Br. at 10 n.3. The Bank has not raised any “objections” before the arbitral tribunal. Instead,
    the Bank has argued to the Court that the question of arbitrability should be decided by the
                                                                                               (cont'd)

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                        (b)    Iraq, As A Non-Party, Is Not Entitled To Have The Question
                               Of Arbitrability Referred To Arbitration.

        These issues, however, do not need to be addressed to resolve Iraq’s motion because,

even if the arbitration provision in the Agreement could be read to encompass the issue of

arbitrability between the Bank and the U.N., that would not mean that Iraq, as a non-party,

would be entitled to have the question of arbitrability referred to arbitration. See Di Martino,

2009 U.S. Dist. LEXIS 1674, at *7-9 (distinguishing cases “where the dispute concerns whether

a certain issue is subject to a valid arbitration clause” from those where “the dispute concerns

whether a certain party is subject to an arbitration clause”); see also id. at *16-17 (non-party

could not compel arbitration despite the incorporation of AAA Commercial Arbitration Rules);

Upper Lakes Towing Co. v. ZF Padova SPA, No. 2:08-CV-63, 2009 U.S. Dist. LEXIS 113025, at

*11-12 (W.D. Mich. Dec. 4, 2009) (incorporation of ICC arbitration rules does not “evince an

intent to refer to an arbitrator the issue of whether it applies to a dispute between Plaintiff and a

non-party to the agreement”); Celanese Corp. v. BOC Group PLC, No. 3:06-CV-1462-P, 2006

U.S. Dist. LEXIS 88191, at *9 (N.D. Tex. Dec. 6, 2006) (“[T]he arbitrator in the pending ICC

arbitration has jurisdiction to decide issues of arbitrability only between the parties to the

arbitration agreement.”). Indeed, if mere breadth of subject matter of an arbitration clause

required submission of all disputes with a party to an arbitrator, any stranger to such an

agreement could coerce a signatory into arbitration of any dispute that stranger might have with

either party.

________________________
(cont'd from previous page)
    Court. Telenor confirms that the court must make this determination even where an
    arbitration agreement incorporates UNCITRAL rules. 524 F. Supp. 2d at 350. Finally, the
    journal articles and out-of-Circuit cases cited by Iraq concerning the effect of UNCITRAL
    rules are not persuasive because they do not address – much less refute – Telenor’s textual
    basis for interpreting the UNCITRAL rules. Pl.’s Br. at 9-10.

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       The Second Circuit confirmed that this is not the law in Contec Corp. v. Remote Solution

Co., 398 F.3d 205, 209 (2d Cir. 2005). In Contec, the Court specifically stated that “just because

a signatory has agreed to arbitrate issues of arbitrability with another party does not mean that it

must arbitrate with any non-signatory.” Id. at 209 (emphasis added); see also John Hancock,

254 F.3d at 57 (“Where the party seeking arbitration is not a party to the arbitration agreement,

the question of arbitrability is for the court, not the arbitrator.”) (quoting In re Herman Miller,

Inc., No. 97 Civ. 7878(SAS), 1998 WL 193213, at *4 (S.D.N.Y. Apr. 21, 1998)); Di Martino,

2009 U.S. Dist. LEXIS, at *9 (“[W]here the dispute concerns whether a certain party is subject

to an arbitration clause . . . the Court – rather than an arbitrator – must decide whether the dispute

is arbitrable.”). Rather, the issue of arbitrability with a non-signatory may only be referred to

arbitration if the non-signatory and the parties “have a sufficient relationship to each other and to

the rights created under the agreement.” Contec, 398 F.3d at 209.5

       Although Iraq mentions the “sufficient relationship” requirement in Contec in its attempt

to invoke estoppel principles, it does not even try to demonstrate how it satisfies this requirement.

See Pl.’s Br. at 10-11. This omission is not surprising, as Iraq cannot demonstrate that it had a




5
    For this reason, the cases cited by Iraq in which the court assessed the impact of a broad
    arbitration clause or rules regarding arbitrability are inapplicable. In each, the court either
    had made a threshold determination about the rights of non-parties under the relevant
    agreement, or did not have to do so because the parties to the dispute were parties to the
    agreement. See Shaw, 322 F.3d at 119 (recognizing that non-signatory assumed rights of
    signatory); Louis Dreyfus Negoce S.A. v. Blystad Shipping & Trading Inc., 252 F.3d 218,
    222-23 (2d Cir. 2001) (involving contract signed by parties to the dispute); PaineWebber, 81
    F.3d at 1196 (same); Collins & Aikman Prods., Co. v. Bldg. Sys., Inc., 58 F.3d 16, 18 (2d Cir.
    1995) (same); Prudential Lines, Inc. v. Exxon Corp., 704 F.2d 59, 60-61 (2d Cir. 1983)
    (same); Wal-mart Stores, Inc. v. PT Multipolar Corp., No. 98-16952, 1999 WL 1079625, at
    *1 (9th Cir. Nov. 30, 1999) (same); Grynberg v. BP P.L.C., 596 F. Supp. 2d 74, 76-77
    (D.D.C. 2009) (same); Smith Barney Shearson Inc. v. Sacharow, 91 N.Y.2d 39, 43 (1997)
    (same).

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relationship with either party to the Banking Services Agreement sufficient to permit it to invoke

the Agreement’s arbitration provision.

       Under Second Circuit precedent, a “sufficient relationship” between a non-signatory and

a party to an arbitration agreement has been found to exist only where the non-signatory (i) has

“some sort of corporate relationship to a signatory party” or (ii) qualifies as “an entity that was,

or would predictably become, with the knowledge and consent of the party opposing arbitration,

affiliated or associated with the other signatory in such a manner as to make it unfair to allow

the party opposing arbitration to avoid its commitment” to arbitrate. Ross, 547 F.3d at 144-46

(emphasis added) (quotation omitted); see also Celanese Corp., 2006 U.S. Dist. LEXIS 88191, at

*10 (noting, based on an analysis of case law, including Contec, that a sufficient relationship has

been found to exist only where the non-signatory “essentially stood in the shoes of a signatory”).

       Iraq meets neither of these requirements. First, it is undisputed that Iraq has no corporate

relationship with the Bank or the U.N. – it is not a subsidiary, affiliate, agent or related business

entity of either party. Ross, 547 F.3d at 144. Thus, Contec, the case on which Iraq principally

relies, is wholly distinguishable. In Contec, it was accepted fact that the non-signatory resisting

arbitration, “Contec Corporation,” was a corporate successor to the signatory, “Contec L.P.” 398

F.3d at 207. The court found that the threshold requirement of a “sufficient relationship” was

satisfied because “there is or was an undisputed relationship between each corporate form of

Contec and Remote Solution” and because “the dispute at issue arose because [Contec

Corporation and Remote Solution] apparently continued to conduct themselves as subject to the

[agreement at issue] regardless of change in corporate form.” Id. at 209. Contec simply does not

support the conclusion that a non-signatory to an agreement with no corporate relationship to




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either party, such as Iraq here, may avoid judicial review merely by raising a purported “genuine

dispute” over a theory of non-signatory rights to a contract. Pl.’s Br. at 11.6

        Second, Iraq cannot show that, at the time of the execution of the Banking Services

Agreement, it would “predictably become . . . affiliated or associated with the [U.N.],” much less

“with the knowledge and consent of the [Bank].” Ross, 547 F.3d at 145. Instead, at the time the

Bank entered into the Agreement, the U.N. was in a quintessentially arm’s-length,

confrontational posture toward Iraq, in that the U.N. had imposed and overseen international

economic sanctions against Iraq, a designated state sponsor of terrorism, essentially to deny it

access to hard currency with which it could pursue its abhorrent practices. See Dkt. No. 357 at

Ex. 1 (Resolution 661); 55 Fed. Reg. 37793 (Sept. 13, 1990). Given Iraq’s status as a pariah in

the international community at the time of the Agreement’s execution, there is no basis to

conclude that the U.N. and Iraq had an “affiliate” or “associated” relationship “in such a manner

as to make it unfair” to allow the Bank to resist arbitration with Iraq. See id. To the contrary, the

notion that Iraq was intended to have any rights under the Banking Services Agreement, which

was designed to deny it access to funds that were being held thereunder by the Bank for the U.N.

as its sole customer, is irrational.

        Nor can Iraq satisfy this requirement by invoking its purported status as a third-party

beneficiary of the Agreement. As explained in more detail below, there is no basis to conclude

that Iraq has such status in the first place. See Section II.B.2, infra. In any event, Iraq has cited

no authority, and the Bank is aware of none, to support the proposition that third-party


6
    Iraq cannot avoid this fatal flaw in its argument by asserting that “courts are more willing to
    send the arbitrability question to arbitrators when the party opposing arbitration signed the
    arbitration agreement.” Pl.’s Br. at 10. The treatise cited in support of this view cites only
    Contec in support of the quoted language. As explained above, Contec itself makes no such
    sweeping proclamation.

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beneficiary status constitutes a “sufficient relationship” with the parties to the agreement as

required by Contec.      In fact, all of the third-party beneficiary cases cited by Iraq involve

situations in which the court – not the arbitrator – addressed the question of arbitrability. See

Arthur Andersen LLP v. Carlisle, 129 S. Ct. 1896, 1902 (2009); John Hancock, 254 F.3d at 57-

60; E.I. Dupont De Nemours & Co. v. Rhone Poulenc Fiber & Resin Int. S.A.S., 269 F.3d 187,

195-99 (3d Cir. 2001); Spear, Leeds & Kellogg v. Central Life Assur. Co., 85 F.3d 21, 25 (2d Cir.

1996); O’Connor v. R.F. Lafferty & Co., 965 F.2d 893, 902 (10th Cir. 1992); Borsack v. Chalk &

Vermilion Fine Arts, Ltd., 974 F. Supp. 293, 301 (S.D.N.Y. 1997). Likewise here, the question

of arbitrability is for this Court – not an arbitration tribunal – to decide.7

                2.      Iraq Cannot Compel Arbitration Of Its Claims By Claiming To Be A
                        Third-Party Beneficiary.

        Iraq’s effort to invoke the arbitration provision of the Banking Services Agreement by

claiming to be a third-party beneficiary is fatally flawed for two reasons. First, as a matter of law,

Iraq is not a third-party beneficiary of the Agreement.           As the Bank demonstrated in its

supplemental brief in support of its motion to dismiss, (Dkt. No. 358), the plain language of the

Agreement evinces no intention to give any person other than the U.N. “the benefit of the

promised performance.” Fourth Ocean Putnam Corp. v. Interstate Wrecking, 66 N.Y.2d 38, 44

(1985) (quotation omitted).      Rather, the Bank’s commitments under the Banking Services

Agreement run exclusively to the U.N.: The Agreement required the Bank to open the Program



7
    For the same reasons that Iraq cannot rely upon estoppel principles to arbitrate the issue of
    arbitrability (Pl.’s Br. at 10-11), Iraq cannot rely on estoppel principles to compel the Bank to
    arbitrate. See Ross, 547 F.3d at 144 (explaining the limited circumstances under which a
    non-party can invoke estoppel against a party to an arbitration agreement); see also Empire
    State Ethanol & Energy, LLC v. BBI Int’l, No. 1:08-CV-623, 2009 U.S. Dist. LEXIS 23701,
    at *12-14 (N.D.N.Y Mar. 20, 2009) (finding that non-signatory could not compel signatory to
    arbitrate on the basis of estoppel).

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Account “on behalf of the United Nations,” to provide “necessary documentation to the United

Nations and its auditors,” and to follow “binding instructions” from the U.N. with respect to

financial services provided under the Agreement. Dkt. No. 361 at Ex. 1 at Arts. 1.3.1, 1.3.4,

1.3.7. Indeed, the Bank could not “seek nor accept instructions from any authority external to

the United Nations,” and expressly was forbidden from complying with procedures or accepting

information from sources “in or acting on behalf of the Government of Iraq or representing

persons or entities in Iraq.” Id. at Art. 1.8. In its response to the Bank’s supplemental brief, Iraq

does not dispute – nor can it – that the banking services set forth in the Agreement were to be

performed on behalf of the U.N., the Bank’s sole customer under the Agreement. Dkt. No. 395

(“Pl.’s Opp.”).

       Similarly, Iraq does not dispute that the language of the arbitration provision itself – the

most probative text on the issue of arbitration rights – is a direct indication that the parties did

not intend for any third party to have any right of recourse under the Agreement. Id. at 16. As

the Second Circuit has stated, “[a] clause requiring arbitration of disputes that does not include

third parties suggests the parties to the contract did not envision that third parties would be in a

position to bring suit under the contract.” Subaru Distribs. Corp. v. Subaru of Am., Inc., 425

F.3d 119, 125 (2d Cir. 2005); see also Premium Mortgage Corp. v. Equifax, Inc., 583 F.3d 103,

108 (2d Cir. 2009) (non-party lacks standing to enforce an agreement “in the absence of terms

that ‘clearly evidence an intent to permit enforcement by the third party’”) (quoting Fourth

Ocean, 66 N.Y.2d at 45) (emphasis added). In fact, Iraq itself cites two other circuit court

opinions that reached the same conclusion. In E.I. Dupont, the Third Circuit found that an

arbitration clause limited to disputes between “one Party” and “the other Parties” demonstrated

that the signatories “anticipated only three beneficiaries to the Agreement.” 269 F.3d at 196.



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Similarly, in O’Connor, the Tenth Circuit rejected a third-party beneficiary claim where an

arbitration provision was limited to controversies between “you” and “the undersigned.” 965

F.2d at 902.

        Unable to avoid this direct evidence of the parties’ intent not to extend the benefits of the

Banking Services Agreement to any third parties, Iraq argues that the Court should give this

evidence little weight because of “other indicia” of an intent to confer benefits upon Iraq. Pl.’s

Opp. at 15. For example, Iraq claims that “the principal purpose of the Agreement was to

establish an escrow account to hold the Republic’s money so that both Resolution 986 and the

MOU could be implemented . . . so that the Republic could sell its oil and purchase humanitarian

goods to alleviate the suffering of the Iraqi people.” Id. (emphasis added); see also Pl.’s Br. at 1-

3.   In so arguing, Iraq ignores both crucial language in the text of the Banking Services

Agreement – that the Bank was to “open the account provided for in SCR 986 on behalf of the

United Nations” – and a central purpose of the Program – to preserve the U.N. sanctions against

Iraq. Dkt. No. 361 at Ex. 1 at Art.1.3.1 (emphasis added); Dkt. No. 357 at Ex. 2. Iraq’s

characterization of the purpose of the Agreement thus is inaccurate. Moreover, only benefits to a

third party that are “explicit and direct” may support a finding that a third party is an intended

beneficiary of a contract. Solutia v. FMC Corp., 385 F. Supp. 2d 324, 337 (S.D.N.Y. 2005).

Attenuated inferences like those proffered by Iraq are not sufficient. Id.8

        Iraq’s reliance on the Agreement’s “repeated[] mention [of] Iraq,” such as in the name of

the “United Nations Iraq Account” and in prohibitions on diversions of funds from the Account,



8
     Iraq lends no support to its argument through its observation that the MOU required the U.N.
     to “keep the Government of Iraq fully informed of [the Secretary-General’s] actions in
     choosing the bank and opening the account.” Pl.’s Opp. at 15. Information flow antecedent
     to the commencement of an agreement cannot be a direct intended benefit of the agreement.

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is similarly misplaced. Pl.’s Opp. at 15. Mere mention of a third party, however often, does not

evince an intention to make it a third-party beneficiary. See, e.g., O’Connor, 965 F.2d at 902

(third party stamped at top of agreement); The Common Fund For Non-Profit Orgs. v. KPMG

Peat Marwick LLP, 951 F. Supp. 498, 500 (S.D.N.Y. 1997) (contract provided for audit of third

party’s financial reports and procedures). That is especially true here, where the references to

Iraq are essentially restrictive in nature, and the setup of the “United Nations Iraq Account” itself

illustrates that funds were intended to be segregated from Iraq. See, e.g., Dkt. No. 361 at Ex. 1 at

Art. 1.8 (forbidding actions in accordance with procedures from sources “in or acting on behalf

of the Government of Iraq or representing persons or entities in Iraq”); id. at 1.18.1 (forbidding

disclosure of Agreement to third parties); id. at 1.18.2 (restricting communications about the

banking services provided under the Agreement); id. at 1.3.7 (U.N. “has the right to and control

of funds in the United Nations Iraq Account”).

       Finally, Iraq cannot sustain its position by arguing that, notwithstanding a lack of textual

support, its purported third-party beneficiary status may be based on “the surrounding

circumstances” of the Banking Services Agreement. Dkt. No. 395 at 12. As a threshold matter,

many cases have held without qualification that “[t]he intention to benefit the third party must

appear from the four corners of the instrument.” Sunnyside Dev. Co., LLC v. Bank of New York,

07 Civ. 8825 (LLS), 2008 U.S. Dist. LEXIS 11800, at *6 (S.D.N.Y. Feb. 19, 2008) (quotation

omitted); see also Air Atlanta Aero Eng’g Ltd. v. SP Aircraft Owner I, LLC, 637 F. Supp. 2d 185,

191 (S.D.N.Y. 2009) (“New York law requires that the parties’ intent to benefit a third-party be

shown on the face of the contract.”) (citations omitted); Piccoli A/S v. Calvin Klein Jeanswear




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Co., 19 F. Supp. 2d 157, 163 (S.D.N.Y. 1998) (same); In re Gulf Oil/Cities Serv. Tender Offer

Litig., 725 F. Supp. 712, 733 (S.D.N.Y. 1989) (same).9

       In any event, there are no “surrounding circumstances” that support Iraq’s position given

that all the pertinent aspects of the Program, as set forth in applicable Security Council

Resolutions and U.N. reports, establish that Iraq was not an intended beneficiary. The Program

was described as a measure to provide for the humanitarian needs of the Iraqi people while

maintaining the sanctions that had been imposed as a punitive measure against Iraq following its

invasion of Kuwait. Dkt. No. 357 at Ex. 2 (Resolution 986). The U.N. exclusively was charged

with maintaining control over Program funds and monitoring transactions with Iraq, and the

Program could be terminated at any point at the discretion of the Security Council. Id. ¶ 8; Id. at

Ex. 4 (MOU ¶¶ 16, 24-27 & Annex II ¶ 4); Dkt. No. 361 at Ex. 1 at Arts. 1.3.7, 1.21.8. The

“surrounding circumstances” thus point to only one conclusion – that the Program was not




9
    “[W]hile it may be appropriate to look to the ‘surrounding circumstances’ when a contract’s
    literal terms are ambiguous or provide latitude,” such analysis is inappropriate where, as here,
    the language of the agreement demonstrates that the parties did not intend for the non-
    signatory to be a third-party beneficiary to the Agreement. Air Atlanta, 637 F. Supp. 2d at
    194. This case thus is distinguishable from Trans-Orient, cited by Iraq, where the court
    analyzed a contract that provided for no mutual consideration and looked to evidence of an
    implied promise of forbearance and other circumstances bearing on the course of conduct of
    the parties. See Trans-Orient Marine Corp. v. Star Trading & Marine, Inc., 925 F.2d 566,
    573-74 (2d Cir. 1991). Iraq makes no similar allegation that the basic elements of the
    Agreement must be supplied by implication. Moreover, as noted above, the plain language
    of the Agreement makes clear that Iraq is not a third-party beneficiary, and any
    circumstances surrounding the Agreement only further support this point. See also Banco
    Espirito Santo De Investimento, S.A. v. Citibank, N.A., No. 03 Civ. 1537 (MBM), 2003 WL
    23018888, at *9 & 10 (S.D.N.Y. Dec. 22, 2003) (holding that language of contract
    demonstrated plaintiff was not a third-party beneficiary and that plaintiff had failed to
    identify any circumstances to the contrary).

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designed to benefit Iraq, but rather to facilitate a comprehensive system of punitive sanctions and

monitoring against Iraq, while mitigating adverse impacts on its people.10

        Even if Iraq were a third-party beneficiary of the Banking Services Agreement – which it

is not – Iraq still would not be entitled to compel arbitration of its claims because the arbitration

provision is expressly limited to the defined “Parties.”       The mere assertion of third-party

beneficiary status does not give the alleged third party a right to invoke an arbitration provision

in the contract. See Miness v. Ahuja, --- F. Supp. 2d ---, 2010 WL 2025193, at *3 (E.D.N.Y.

May 20, 2010) (third-party beneficiary of contract would not be entitled to compel arbitration

where arbitration clause was limited to disputes “between the parties hereto”); see also

McPheeters, 953 F.2d at 773 (“[E]ven if [the party seeking arbitration] were party to the

Agreement, it is not included within the scope of the arbitration clause.”); Di Martino, 2009 U.S.

Dist. LEXIS 1674, at *15 (“Even if petitioners are parties to the [contract] . . . the issue remains

as to whether they are bound by the Arbitration Clause.”); Celanese, 2006 U.S Dist. LEXIS, at

*20-21 (finding that signatory to agreement did not have right to invoke arbitration provision

that was limited to two other “Parties” as expressly defined in the agreement). Where, as here,




10
     Nor can Iraq assert third-party beneficiary status as parens patriae on behalf of the Iraqi
     people. See Dkt. No. 395 at 15 & 16. Promises or aspirational language in connection with
     international humanitarian relief efforts do not bestow individual rights of redress, much less
     private causes of action for the states involved. See Dkt. No. 358 at 12-13. It is even more
     absurd to suggest that the entire citizenry of Iraq somehow would have had a right to
     arbitrate under the Banking Services Agreement. Cf. Stolt-Nielsen, 2010 WL 1655826, at
     *13 (“[A] party may not be compelled under the FAA to submit to class arbitration unless
     there is a contractual basis for concluding that the party agreed to do so.”).

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an arbitration provision is expressly limited to certain parties, a third-party beneficiary not

included within the scope of the arbitration provision may not invoke the provision. See id.11

        C.      Iraq Cannot Delay The Resolution Of This Matter By Seeking Discovery.

        Iraq’s effort to avoid denial of its motion to compel arbitration by asserting a need for

discovery also fails. Pl.’s Br. at 12. Where, as here, a party “relies on language in the contract or

other circumstances that will not support the inference that the parties intended to confer a

benefit on the claimant,” the matter should be determined by the Court based on no more than

the plain terms of the agreement. Subaru, 425 F.3d at 124-25; see also McPheeters, 953 F.2d at

773 (affirming denial of motion to compel arbitration by alleged third-party beneficiary on basis

of contract terms); E.I. Dupont, 269 F.3d at 196-97 (affirming denial of motion to compel

arbitration against non-signatory on basis of contract terms and allegations); Stechler v. Sidley

Austin Brown & Wood, L.L.P., 382 F. Supp. 2d 580, 591-92 (S.D.N.Y. 2005) (denying non-

signatory defendant’s motion to compel arbitration based upon language in complaint);

PaineWebber, 81 F.3d at 1199 (court can “ascertain the intent of the parties from the plain

meaning of the language employed” and “where the intent of the parties can be determined from

the face of the agreement, interpretation is a matter of law”).




11
     The cases cited by Iraq do not hold otherwise. In the two Circuit Court cases in which the
     Court found that a third-party beneficiary had a right to arbitrate, the arbitration provisions
     were not limited in any respect to “the parties” to the contract. Spear, Leeds & Kellogg, 85
     F.3d at 26 (standard form NYSE arbitration provisions applied to “any controversy between a
     member . . . and any other person arising out of the business of such member”); John
     Hancock, 254 F.3d at 58 (standard form NASD arbitration provisions applied to a
     “dispute . . . between a customer and a member and/or associated person”). Borsack is
     distinguishable because the party resisting arbitration was the same party that was trying to
     bring suit under the contract. See 974 F. Supp. at 299 (non-signatory plaintiff sought
     “enforcement of one portion of the [contract], while seeking to avoid another provision of the
     [contract], namely the arbitration clause”).

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       The Bensadoun and Oppenheimer cases cited by Iraq do not compel a different

conclusion, as both involved situations where the party opposing arbitration relied on

circumstances extrinsic to its agreement. See Bensadoun v. Jobe-Riat, 316 F.3d 171, 178 (2d Cir.

2003) (remanding for further factual development where arbitration agreement provided for

arbitration between a stock broker and its “customers,” and broker resisting arbitration submitted

affidavits that “raise[d] factual issues” as to whether plaintiffs were customers under the

agreement); Oppenheimer & Co. v. Neidhardt, 56 F.3d 352, 357 (2d Cir. 1995) (interpreting

same arbitration provision as in Bensadoun, but affirming judgment compelling arbitration where

broker failed to raise any evidence showing plaintiffs were not customers). Here, Iraq has not

identified any purported extrinsic circumstances that would support its position – what it is

asking for is a pure fishing expedition. For this reason, this situation is more like Veera, also

cited by Iraq (Pl.’s Br. at 12), where this Court stayed arbitration because the party seeking to

arbitrate had proffered no evidence supporting alternative theories of agency or estoppel. See

Veera v. Janssen, No. 05 Civ. 2145 (SHS), 2005 WL 1606054, at *4-5 (S.D.N.Y. July 5, 2005).

       In sum, discovery is neither necessary nor appropriate to resolve the question of the

arbitrability of Iraq’s claims against the Bank.

                                             *     *    *

       For all these reasons, the Bank has not agreed to arbitrate any of the claims asserted by

Iraq in this action, let alone clearly and unmistakably agreed to submit the issue of arbitrability to

an arbitrator. Accordingly, this Court should decide the question of arbitrability and it should

deny Iraq’s motion to compel arbitration.




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II.      IRAQ IS PRECLUDED FROM PURSUING ARBITRATION BECAUSE IT HAS
         ENGAGED IN SUBSTANTIAL LITIGATION IN COURT.

         In addition to lacking any contractual basis to arbitrate its claims against the Bank, Iraq is,

by virtue of its own conduct, precluded from arbitrating its claims.12 A party seeking to arbitrate

is precluded from arbitration when it “actively participates in a lawsuit or takes other action

inconsistent with that right.” Apple & Eve, LLC v. Yantai North Andre Juice Co., 610 F. Supp.

2d 226, 229 (E.D.N.Y. 2009); see also SATCOM, 49 F. Supp. 2d at 341 (“The touchstone of

waiver is the taking of action inconsistent with the right to arbitrate . . . . Rarely does a plaintiff

begin a litigation on the merits and then alter course and attempt to compel an arbitration.”).

Such conduct is a complete bar to arbitration even where an agreement to arbitrate is established,

because it renders the alleged agreement to arbitrate “null and void.” Apple & Eve, 610 F. Supp.

2d at 234.

         A finding of preclusion is particularly appropriate where, as here, the party seeking to

arbitrate is a plaintiff that has pursued litigation over a long period of time, including through

court filings and negotiation of scheduling orders which invite defendants to submit detailed

responses in court. Such activities “illustrate [plaintiff’s] unmistakable intent to litigate rather

than arbitrate its claims.” In re Merrill Lynch Auction Rate Sec. Litig., No. 09 Civ. 6770 (LAP),

2010 U.S. Dist. LEXIS 12764, at *12 (S.D.N.Y. Feb. 8, 2010) (holding that plaintiff waived its

right to arbitrate following eleven months of pre-trial litigation, including filing amended


12
      The question of whether Iraq is precluded from arbitrating its claims is a matter for the Court
      and not an arbitrator to decide. See Doctor’s Assoc. v. Distajo, 66 F.3d 438, 456 & n.12 (2d
      Cir. 1995) (“the court should decide the issue of waiver” when “the waiver defense [is] based
      on prior litigation by the party seeking arbitration”); S & R Co. of Kingston v. Latona
      Trucking, Inc., 159 F.3d 80, 83 (2d Cir. 1998) (same, finding that incorporation of AAA rules
      in arbitration provision did not change result); SATCOM Int’l Group PLC v. ORBCOMM
      Int’l Partners, L.P., 49 F. Supp. 2d 331, 339 (S.D.N.Y. 1999) (finding that waiver “is
      appropriately decided by the Court”).

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complaints and stipulating to a scheduling order resulting in defendant’s submission of a pre-

answer letter response); see also SATCOM, 49 F. Supp. 2d at 335 & 341 (holding that plaintiff

waived its right to pursue arbitration following four months of litigation and a court ruling

denying plaintiff’s motion for preliminary injunction). This is plainly the case here.

         Iraq filed this action on June 27, 2008, almost two years ago – significantly longer than

the time elapsed in both Merrill Lynch and SATCOM. Its initial complaint included the same

breach of contract and breach of fiduciary duty claims that it now seeks to arbitrate. In March

2009, Iraq informed counsel for the Bank and other defendants that it intended to file an

amended complaint, and it negotiated an additional extension of time so that it could finish

gathering materials from the U.N. See Dkt. No. 14 at 3-4. In its amended complaint, Iraq not

only reasserted its breach of contract and breach of fiduciary duty claims, but quoted extensively

from several nonpublic provisions of the Banking Services Agreement and paraphrased several

others. See, e.g., Am. Compl. ¶¶ 978, 983-986, 988-992, 1003 (quoting nonpublic provisions);

id. ¶¶ 1001, 1047-1048, 1053, 1186 (paraphrasing nonpublic provisions).13 Yet, Iraq did not cite

the Agreement’s arbitration provision or mention that it might seek to arbitrate its claims.

         In fact, Iraq asserted a desire to arbitrate only after the Bank submitted extensive briefs

setting forth multiple grounds for dismissal, and only after other similar lawsuits brought by

citizens of Iraq in this Court had been dismissed.14 Moreover, Iraq has continued to litigate all of




13
     The nonpublic provisions of the Agreement quoted and/or paraphrased include Sections 1.3.1,
     1.3.3, 1.3.5, 1.3.6, 1.6, 1.8, 1.9, 1.13.1, 1.13.2 and one recital.
14
     See Mastafa v. Australian Wheat Bd. Ltd., No. 07 Civ. 7955 (GEL), 2008 U.S. Dist. LEXIS
     73305, at *37 (S.D.N.Y. Sept. 25, 2008); Karim v. AWB Ltd., No. 06 Civ. 15400 (GEL),
     2008 U.S. Dist. LEXIS 76896 (S.D.N.Y. Sept. 30, 2008), aff’d, 2009 U.S. App. LEXIS
     21649 (2d Cir. Oct. 2, 2009).

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its claims against the Bank to this day, by filing detailed response briefs to the Bank’s motion to

dismiss, which will require yet further briefing on the part of the Bank.

          These facts support only one conclusion – that Iraq purposefully led the Bank to believe

that it intended to litigate its breach of contract and breach of fiduciary duty claims, which in turn

caused the Bank to expend considerable time and resources in litigation. Iraq’s belated request

to proceed on a dual track, ostensibly in an effort to pursue its claims in a second forum in the

event they do not survive here, should be rejected.15

III.      THE COURT SHOULD ENJOIN IRAQ FROM PURSUING ARBITRATION.

          Because an order denying Iraq’s motion to compel arbitration, by itself, may not prevent

Iraq from taking further action with respect to arbitration, a separate order enjoining arbitration

also is necessary. Under Chapter 2 of the FAA, which gives the district court power to direct

arbitration, the Court has “a concomitant power to enjoin arbitration where arbitration is

inappropriate.” SATCOM, 49 F. Supp. 2d at 342. An injunction is warranted if the party seeking

injunctive relief demonstrates that it will be irreparably harmed if an injunction is not granted.

Cartier, Inc. v. Four Star Jewelry Creations, Inc., 348 F. Supp. 2d 217, 240 (S.D.N.Y. 2004)

(citations omitted); see also Merrill Lynch Inv. Managers v. Optibase, Ltd., 337 F.3d 125, 129

(2d Cir. 2003); Citigroup Global Markets, Inc. v. VCG Special Opportunities Master Fund Ltd.,

598 F.3d 30, 35 & 39 (2d Cir. 2010) (affirming grant of preliminary injunction enjoining

arbitration).


15
       The gamesmanship inherent in Iraq’s position is perhaps best illustrated by its assertion that
       it should be permitted to continue litigating some of its claims against the Bank in this Court
       even if its breach of contract and breach of fiduciary duty claims are sent to arbitration. Pl.’s
       Br. at 13-14. Iraq contends throughout most of its brief that the arbitration provision is
       written so broadly that it unmistakably gives Iraq the right to arbitrate, but when addressing
       severance, it argues that the provision is not broad enough to include other claims arising out
       of the Bank’s performance of the Agreement.

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       This court repeatedly has recognized that “[a] person against whom an arbitration has

been initiated, who has not agreed to arbitrate, directly or by operation of law, is deemed to be

irreparably damaged.” Zarepta Chem., K.S. v. Solae, LLC, 05 CV 8265 (CLB), 2005 U.S. Dist.

LEXIS 43805, at *7 (S.D.N.Y. Oct. 26, 2005); see also Proshares Trust v. Schnall, 09 Civ. 6386

(SHS), 2010 U.S. Dist. LEXIS 14286, at *8 (S.D.N.Y. Feb. 18, 2010) (“a party necessarily

suffers irreparable harm if forced to expend time and resources arbitrating an issue that is not

arbitrable”) (quotation omitted); UBS Securities LLC v. Voegeli, 09 Civ. 8872 (DLC), 2010 U.S.

Dist. LEXIS 6202, at *8 (S.D.N.Y. Jan. 26, 2010) (enjoining arbitration and stating that “[i]t is

beyond dispute that irreparable harm would result if [plaintiff] were compelled to arbitrate

defendants’ claims without having agreed to arbitration”).

       Applying these rules to the present case, the Bank necessarily will suffer irreparable harm

if Iraq is not enjoined from pursuing arbitration of claims which, as explained above, Iraq has no

right to arbitrate. Exposing the Bank to the prospect of arbitration for a dispute that it did not

agree to arbitrate would deprive the Bank of the important “right to have [Iraq’s] claims

adjudicated in a court of law, rather than in an arbitral forum to whose jurisdiction [it has] not

consented.” UBS Securities, 2010 U.S. Dist. LEXIS 6202, at *9. Accordingly, in addition to

denying Iraq’s motion to compel arbitration, the Court also should enjoin Iraq from arbitrating

any of its claims against the Bank.




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                                        CONCLUSION

       For all the foregoing reasons, Iraq’s motion to compel arbitration should be denied and

the Bank’s motion to enjoin arbitration should be granted.

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       Washington, DC

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